                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR06-0131-LRR
 vs.
                                                                 ORDER
 ARTHA EARL WRIGHT,
               Defendant.
                            ____________________________

       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 115). The defendant filed such motion on
August 7, 2009.
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Additionally, USSG §1B1.10 states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of

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             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The court sentenced the
defendant on November 21, 2007, and Amendment 706, Amendment 709 and Amendment
711 all took effect on November 1, 2007. Further, apart from the amendments that pertain
to offenses involving cocaine base, the defendant does not identify an amendment that is
listed in USSG §1B1.10(c). Amendment 709, which amends USSG §4A1.1, USSG
§4A1.2 and the corresponding commentary to both sections, is not listed in subsection (c).
Accordingly, the court concludes that a reduction under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10 is not warranted. The defendant’s motion to reduce sentence under 18 U.S.C.
§ 3582(c)(2) is denied.


      IT IS SO ORDERED.
      DATED this 7th day of August, 2009.




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